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: Department of the Treasury
Internal Revenue Service

IRS Memphis, TN 38101-0069

029805.234978.0131.003 2 AT 0.384 1053

HRS

 

 

 

 

 

 

Notice CPS503

Tax Year 2010

Notice date October 28, 2013
Social Security number

To contact us Phone 1-800-829-8374
Your Caller ID 745800

Page 1 of 4

ae ERRICK L WILLIAMS
6625 HILLSIDE TERRACE DR
2805 AUSTIN TX 78749-4109254

OU
a

Second reminder: You have unpaid taxes for 2010

Amount due:-$377,997.47 |

As we notified you before, our records show you
have unpaid taxes for the tax year ending
December 31, 2010 (Form 1040). If you don't
pay $377,997.47 by November 7, 2013, interest
will increase and additional penalties may apply.

 

Billing Summary

 

 

 

 

Amount you owed $375,489.23
Failure-to-pay penalty 1,426.56
interest charges 1,081.68
Amount due by November 7, 2013 $377,997.47

 

What you need to do immediately

Pay immediately
* Send us the amount due of $377,997.47 by November 7, 2013, to avoid additional
penalty and interest charges.

 

BFS Eee lll

Payment

INTERNAL REVENUE SERVICE
CINCINNATI, OH 45999-0150

 

 

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ERRICK £ WILLIAMS Notice CPS03
6625 HILLSIDE TERRACE DR Notice date October 28, 2013

AUSTIN TX 78749-4109254 -
: Social Security number

* Make your check or money order payable to the United States Treasury.
® Write your Social Security number (XXX-XX-XXXX), the tax year (2010), and the form
number (1040) on your payment and any correspondence.

Amount due by
November 7, 2013 ks377,997.47

 

 

EXHIBIT A

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Notice CP503

Tax Year 2010

Notice date October 28, 2013
Social Security number A ————
Page 2 of 4

 

_ What you need to do immediately—continued _

Pay immediately—continued
* Ifyou can’t pay the amount due, pay as much as you can now and make payment
arrangements that allow you to pay off the rest over time. Visit www.irs.gov and
search for keyword: “tax payments options” for more information about:
— Installment and payment agreements—download required forms or save time and
money by applying online if you qualify
— Automatic deductions from your bank account
— Payroll deductions
— Credit card payments
Or, call us at 1-800-829-8374 to discuss your options.
If you've already paid your balance in full within the past 14 days or made payment
arrangements, please disregard this notice.

 

lf we don't hear from you

© If you don't pay $377,997.47 by November 7, 2013, interest will Increase and
additional penalties may apply.

* If you don't pay the amount due or call us to make payment arrangements, we can
file a Notice of Federal Tax Lien on your property at any time, if we haven't already
done so.

¢ ff the lien is in place, you may find it difficult to sell or borrow against your property.
The tax lien would also appear on your credit report—which may harm your credit
rating—and your creditors would also be publicly notified that the IRS has priority to
seize your property.

¢ \fyou don't pay your tax debt, we have the right to seize (“levy”) your property.

 

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IRS

SRR ecee reel |

Contact information

INTERNAL REVENUE SERVICE
P.O. BOX 249
MEMPHIS, TN 38101-0249

 

ERRICK L WILLIAMS Notice CP503
6625 HILLSIDE TERRACE OR

AUSTIN TX 78749-6109254 Notice date October 28, 2013
. Social Security number

If your address has changed, please call 1-800-829-8374 or visit www.irs.gov.
O Please check here if you've included any correspondence. Write your Social Security
number (XXX-XX-XXXX), the tax year (2010), and the form number (1040) on any

correspondence,
0 am. O a.m.
O pm. O p.m.

Primary phone Best time to call Secondary phone Best time to call

 

 

 
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Bl BRSPEARER EM |

 

 

 

 

 

 

 

 

Notice CP503
Tax Year. 2010
Notice date October 28, 2013
Social Security number
Page 3 of 4
Penalties We are required by law to charge any applicable penalties. :
ioe ilure-to-pa Descfiption Amount
ef Failuire-to-pay Total failure-to-pay $1,426.56

When you pay your taxes after the due date, we charge a penalty of 0.5% of the

unpaid amount due per month, up to 25% of the amount due. We count part of a

month as a full month. (Internal Revenue Code Section 6651)
For a detailed calculation of your penalty charges, call 1-800-829-8374,

19805

 

Removal or reduction of penalties We understand that circumstances—such as economic hardship, a family member's
‘death, or loss of financial records due to natural disaster—~may make it difficult for you
to meet your taxpayer responsibility in a timely manner.

If you would like us to consider removing or reducing any of your penalty charges,

please do the following:

© Identify which penalty charges you would like us to reconsider (e.g., 2005 late filing
penalty),

© For each penalty charge, explain why you believe it should be reconsidered.

© Sign your statement, and mail it to us.

We will review your statement and let you know whether we accept your explanation
as reasonable cause to reduce or remove the penalty charge(s).

 

Removal of penalties due to erroneous If you were penalized based on written advice from the IRS, we will remove the penalty
written advice from the IRS if you meet the following criteria,

© If you asked the IRS for written advice on a specific issue

® You gave us complete and accurate information

© You received written advice from us

® You relied on our written advice and were penalized based on that advice

To request removal of penalties based on erroneous written advice from us, submit a
completed Claim for Refund and Request for Abatement (Form 843) to the IRS service
center where you filed your tax return, For a capy of the form or to find your IRS service
center, go to www.its.gov or call 1-800-829-8374.

 

Interest charges We are required by law to charge interest on unpaid tax from the date the tax return
was due to the date the tax is paid in full.-The interest is charged as long as there is an
unpaid amount due, including penalties, if applicable. (Internal Revenue Code section

 

 

 

6601)
Description Amount
Total interest $1,081.68

The table below shows the rates used to calculate the interest on your unpaid amount
due. For a detailed calculation of your interest, call 1-800-829-8374.

 

 

. Pertod Interest rate
- April 1, 2009 through December 31, 2010 4%
January 1, 2011 through March 31, 2014 . 3%

 

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Notice CP503
Tax Year 2010
Notice date October 28, 2013
Social Security number a
Page 4 of 4
Interest charges—continued Period interest
rate
April 1, 2011 through September 30, 2011 4%
October 1, 2011 through December 31, 2011 3%
January 1, 2012 through March 31, 2012 3%
Aoril 1, 2012 through June 30, 2012 3%
July 1, 2012 through September 30, 2012 3%
October 1, 2012 through December 31, 2012 3%
. January 1, 2013 through March. 31,.2013 : 3%
“April 1, 2013 through June 30, 2073 3%

 

 

July 1, 2013 through September 30, 2013 3%

 

Additional information

© Visit www.irs.gov/cp503

© For tax forms, instructions, and publications, visit www. irs.gov or
call 1-800-TAX-FORM (1-800-829-3676).

© Keep this notice for your records

lf you need assistance, please don’t hesitate to contact us.

 

 

 
